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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



SUKHBIR SINGH TOOR, et al.,                    Civil Action No. 1:22-cv-01004

          Plaintiffs,
                                              STATEMENT OF POINTS AND
  v.                                         AUTHORITIES IN SUPPORT OF
                                            APPLICATION FOR PRELIMINARY
DAVID H. BERGER, et al.,                      INJUNCTION ON BEHALF OF
                                               PLAINTIFFS MILAAP SINGH
          Defendants.                        CHAHAL, AEKASH SINGH, AND
                                                   JASKIRAT SINGH
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                                        INTRODUCTION

    Members of the U.S. military should not have to choose between serving their God and serving

their country. Yet Plaintiffs Milaap Singh Chahal, Aekash Singh, and Jaskirat Singh now face that

coercive choice. All three meet the qualifications to be admitted into the United States Marine

Corps with only one remaining obstacle: an order demanding that they abandon their core religious

practices upon entering, and for the duration of, their basic training.

    As devout Sikhs, Plaintiffs are obligated to maintain unshorn hair, including beards, and other

religious articles. Consistent with Marine Corps policy, they have sought religious

accommodations that would allow them to remain true to their faith while in service to their

nation—accommodations that are already permitted by both the United States Army and United

States Air Force, as well as by militaries around the world. The Marine Corps, in contrast, has

insisted that Plaintiffs’ religious expression and articles of faith violate a standard of “uniformity”

ostensibly required of all Marines during recruit training. It has thus denied their requests for

religious accommodations during this initial phase of their service, barring them from serving at

all as a result. 1 Forcing Plaintiffs to choose between serving their God and their country contradicts

the Marine Corps’ own regulations, the Religious Freedom Restoration Act (RFRA), and the

United States Constitution. This Court has previously granted related emergency relief to

servicemembers in the Navy, Di Liscia v. Austin, No. 21-1047 (D.D.C. Apr. 15, 2021), ECF No.

7 at 1 (granting “stay enjoining Defendants from forcing Di Liscia to shave his beard”), and in the

Army, Singh v. Carter, 168 F. Supp. 3d 216, 229 (D.D.C. 2016) (issuing TRO against

discriminatory testing of a Sikh soldier concerning his religious beard). And the Army and Air


1
    The Marine Corps has also denied the accommodation of Plaintiff Milaap Singh Chahal to the
extent he may serve in a ceremonial role. And it has denied the accommodation of all Plaintiffs to
the extent they may be deployed and entitled to receive “hostile fire” or “imminent danger” pay.
While these limitations are also challenged in the Complaint, for purposes of this preliminary
injunction motion, Plaintiffs address only the limitation on their accommodations during their
basic training, which prevents them from entering the Marine Corps. Plaintiff Sukhbir Toor has
already completed basic training. Thus, throughout this brief “Plaintiffs” refers only to Plaintiffs
Milaap Singh Chahal, Aekash Singh, and Jaskirat Singh.


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Force have since allowed accommodations for Sikhs across the board, including during recruit

training. Because the Marine Corps has no compelling reason for continuing to restrict Plaintiffs’

religious exercise, Plaintiffs now seek a preliminary injunction preventing the Marine Corps from

enforcing its uniform and grooming policy as to their religious articles of faith.

   Plaintiffs’ articles of faith would not hinder the performance of their duties in any way.

Moreover, the fact that the Marine Corps is more restrictive of religious practice during recruit

training (where no external threats are present) than during a Marine’s actual service underscores

that its real concern is one of uniformity, not safety. This interest in uniformity has little force as

applied to Plaintiffs’ religious exercise, particularly considering the many other exceptions to

uniformity the Marine Corps invites to diversify its ranks.




U.S. Army Corporal Simran Preet Singh Lamba carrying          Marine Corps special-operations staff sergeant in Afghanistan
the guidon for his platoon during Basic Combat Training        Photo Credit: Michael M. Phillips/The Wall Street Journal
  graduation. Photo Credit: Susanne Kappler/U.S. Army


   Because the Marine Corps has no compelling reason to suppress Plaintiffs’ religious exercise,

Plaintiffs are likely to prevail on the merits of their RFRA, Free Exercise, and Equal Protection

claims. The other injunction factors weigh in their favor too. Absent relief, Plaintiffs will continue

suffering irreparable harm, facing a coercive choice to abandon either their religious beliefs or the

ability to serve their country as Marines. All three Plaintiffs have put their lives and careers on

hold, and two have waited over a year for the Marine Corps to process their requests. All of them

have passed the requisite exams and fitness tests to qualify for a contract with the Marine Corps,



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but these qualifying tests will soon expire. The Marine Corps allows recruits who are deemed

qualified but who are not ready to commit to becoming a Marine to maintain their test scores for

only up to two years. Candidates who are ready to make the commitment, but who cannot

immediately embark for recruit training, enter into a Delayed Entry Program (DEP), which allows

their qualifications to remain active for up to only 365 days.

   While all three pre-accession Plaintiffs were ready to commit to becoming Marines, due to

inconsistencies within the Marine Corps’ own policies, two were prohibited from entering the DEP

while their religious accommodations were pending while the third Plaintiff, Jaskirat Singh, was

permitted to enter the DEP. On April 30, 2022, Plaintiff Jaskirat Singh’s DEP contract will expire,

and he will have to be administratively discharged and start the enlistment process over again

absent relief from this Court. Additionally, given the extensively long time the Marine Corps has

taken to respond to Plaintiffs’ requests, and looming deadlines for both Plaintiffs Milaap Singh

Chahal and Aekash Singh, they will both have to retake their mental and physical entrance tests

and start the accommodation process all over again unless this Court intervenes.

   The Marine Corps’ asserted interests would not be compromised by allowing Plaintiffs to

maintain their beards and religious articles. And relief would be in the public’s interest, as it would

affirm the core rights of religious exercise and expression guaranteed by federal law and the U.S.

Constitution while supporting the Marine Corps’ own commitment to the diversity of our

servicemembers. The Court should issue a preliminary injunction enjoining the Marine Corps from

forcing Plaintiffs to abandon their faith during recruit training and the pendency of this lawsuit.


                                         BACKGROUND

   The Sikh Faith

   Sikhism is a monotheistic religion that originated in the fifteenth century in the Punjab region

of South Asia. While relatively young compared to other major world religions, it is the world’s




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fifth largest faith tradition with nearly 25 million adherents. 2 There are approximately 700,000

Sikhs in the United States. 3 The Sikh faith teaches that God is all loving, all pervading, and eternal.

Compl. ¶ 76. This God of love is accessed through grace and sought by service to mankind. Id.

The founder of Sikhism, Guru Nanak, rejected the caste system and declared all human beings,

including women, to be equal in rights, responsibilities, and ability to reach God. Compl. ¶ 77. He

taught that God was universal to all—not limited to any religion, nation, race, color, or gender. Id.

    Consistent with the teachings of the Sikh gurus, Sikhs wear external articles of faith to bind

them to the beliefs of the religion. Compl. ¶ 78. Unlike some other faiths, where only clergy

maintain religious articles on their person, all Sikhs are required to wear external articles of faith.

Id. These articles of faith, such as unshorn hair (kesh) and the turban, distinguish a Sikh and have

deep spiritual significance. Compl. ¶ 79. A Sikh’s other religious articles include the kanga (small

wooden comb) worn in the hair; the kara (steel bracelet) worn on the wrist; the kacchera

(undershorts) worn under the clothes; and a sheathed kirpan that is carried on the person (emblem

of justice resembling a small knife). Id.

    Along with millions of other Sikhs, Plaintiffs sincerely believe that maintaining unshorn hair

(including facial hair) is an essential part of the Sikh way of life. Compl. ¶ 80. Guru Nanak started

the practice, regarding it as living in harmony with God’s will. Compl. ¶ 81. The Sikh Code of

Conduct, called the Rehat Maryada, outlines the requirements for practicing the Sikh way of life.

All Sikhs must follow the guidelines set forth in this document. Id. The Rehat Maryada explicitly

instructs that if you are a Sikh, you must “[h]ave, on your person, all the time . . . the Keshas

(unshorn hair).” Compl. ¶ 82. This document prohibits the removal of hair from the body as one

of four major taboos. One of the other taboos on this list is adultery. Id. Accordingly, the fact that

cutting one’s hair is a moral transgression as serious as committing adultery speaks to the immense


2
    See The Global Religious Landscape: A Report on the Size and Distribution of the World’s
Major Religious Groups as of 2010, The Pew Forum on Religion and Public Life, 9 n.1 (2012),
https://perma.cc/L9L7-S6JA.
3
    Sikhism, WorldAtlas (Nov. 4, 2021), https://perma.cc/A3FZ-LLFE.


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significance of uncut hair in the Sikh religion. Id. The Rehat Maryada also mandates that Sikhs

wear a turban which must always cover a Sikh’s head. Compl. ¶ 83. The turban reminds a Sikh of

his duty to maintain and uphold the core beliefs of the Sikh faith, which include working hard and

honestly, sharing with the needy, and promoting equality and justice for all. Id. When a Sikh ties

a turban, the turban ceases to be simply a piece of cloth and becomes one and the same with the

Sikh’s head. Id. Historically, uncut hair and turbans have been central features of the Sikh identity.

Compl. ¶ 84. For example, in the eighteenth century, Sikhs in South Asia were persecuted and

forced to convert from their religion by the dominant leaders in the region. Id. The method of

forcing conversions was to remove a Sikh’s turban and cut off his hair. Id. As resistance to such

forced conversions, many Sikhs chose death over having their turbans removed and hair shorn.

Compl. ¶ 85. Since then, denying a Sikh the right to wear a turban and maintain unshorn hair has

symbolized denying that person the right to belong to the Sikh faith, and is perceived as the most

humiliating and hurtful physical injury that can be inflicted upon a Sikh. Compl. ¶ 86.

    The History of Sikh Service in the Military

    Service in the armed forces has long been—and continues to be—a central part of the Sikh

tradition. This tradition dates back to Guru Gobind Singh’s creation of the Khalsa, a spiritual order

and army comprised of initiated Sikhs, to resist persecution by the Mughal Empire in the late

seventeenth century. The Khalsa warrior-saint paradigm instructs Sikhs to take up arms against

oppression as a religious duty. 4 After Britain expanded its control of India, Sikh soldiers soon

became “among the sturdiest and trustiest men of the British army,” with a group of twenty-one

Sikhs famously repulsing an attack by thousands of Afghans for six hours at the Battle of Saragarhi

in 1897, and with approximately 100,000 Sikhs— a disproportionately high number among Indian

volunteer soldiers—fighting for the British in World War I. 5 Observant Sikhs still serve with their

4
    Sir Charles Gough & Arthur Donald Innes, The Sikhs and the Sikh Wars, 18-21 (1897); Arvind-
Pal Singh Mandair, Sikhism: A Guide for the Perplexed, 4, 55 (2013).
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   See Rajdeep Singh Jolly, The Application of the Religious Freedom Restoration Act to
Appearance Regulations that Presumptively Prohibit Observant Sikh Lawyers from Joining the



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articles of faith intact in militaries in Canada, Australia, the United Kingdom, and India, and also

as United Nations Peacekeepers, often working closely with American troops in troubled regions. 6

In fact, Canada’s former Minister of National Defence and current Minister of International

Development, Lieutenant Colonel Harjit Sajjan, is an observant Sikh, who supported the U.S.-led

coalition in Afghanistan and served as a special advisor to U.S. Army Lieutenant General James

Terry, commander of the 10th Mountain Division, with his religious articles of faith intact. 7

    As members of the “greatest generation,” Sikhs proudly served in the U.S Army with all of

their articles of faith during both World Wars and the Vietnam War, until the military changed its

policy in 1981 to prohibit exemptions to the uniform requirements for visible articles of faith.

While Congress subsequently enacted a statute protecting soldiers’ right to wear religious apparel

that is “neat and conservative” and would not “interfere with . . . military duties,”

10 U.S.C. § 774(b), the statute did not address religious beliefs against cutting hair and was

construed narrowly by the military to continue barring turban-wearing Sikhs from serving. 8 And
although some Sikhs already in the Army were grandfathered in, the 1981 policy change precluded

any other practicing Sikhs from entering the U.S. Armed Forces for nearly thirty years. In 2017

and 2020, the Army and Air Force revised their policies respectively, such that over 100 Sikhs

currently serve with courage and distinction in those branches. 9 But the Marine Corps continues


U.S. Army Judge Advocate General Corps, 11 Chap. L. Rev. 155, 157 (2007); Sikhs Prove Their
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   Statement for the Record of the Sikh Coalition, House Armed Services Committee Hearing on
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   See Christopher Guly, Defense Minister Harjit Singh Sajjan: A Sikh Soldier’s Climb to the
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   See Defense Instr. 1300.17 (1988) (amended Jan. 2014 and Sept. 2020); Army Reg. 600-20 §§
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   Dave Philipps, The Marines Reluctantly Let a Sikh Officer Wear a Turban. He Says It’s Not
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to insist on “uniformity,” at least when it comes to the articles of faith of religious minorities,

sending the clear message that no Sikhs need apply.

   Prior Engagement with Defendants Regarding Sikh Religious Accommodations

   Beginning in September 2019, counsel for Plaintiffs began outreach to then-Chief of Naval

Personnel, John B. Nowell, Jr., to express concerns regarding Navy policies surrounding religious

accommodations. Klapper Decl. Ex. A. Over the course of 2020 and early 2021, counsel

continually engaged via letters and teleconferences with the Navy General Counsel’s office,

including with then-Acting General Counsel Garrett Ressing and others. See, e.g., Klapper Decl.

Ex. B, C. At all times, counsel made it clear that these discussions were an effort to clear a path of

equal access to employment for observant Sikhs to join the Marine Corps, and that the Navy

General Counsel’s office should be prepared to receive Sikh religious accommodation requests in

the near future.
   Milaap Singh Chahal’s Commitment to the Sikh Faith

   Milaap Singh Chahal has been a practicing Sikh since childhood. Compl. ¶ 123. As a first-

generation Sikh American born in California, his faith goes to the core of his identity and motivates

him with the desire to serve his fellow Americans daily as a Marine. Compl. ¶¶ 130-31. Since he

was 11 years old, he has worn a turban continually, never shaved his facial hair, and attended

religious services at Gurdwara every week with his family. Compl. ¶ 123. He also attended Sikh

school on weekends. Id. At age 15, Chahal participated in the Amrit Sanskar ceremony of

initiation, where he was “reborn” and began a “new chapter” in his life as an amritdhari or fully

initiated Sikh, wearing all five religious articles continually: the kesh (unshorn hair), the kanga

kept in his turban, the kara on the wrist, the kacchera undergarment, and the kirpan carried on his


2017), https://perma.cc/V25D-4LPJ; Secretary of the Air Force, Air Force Instruction 36-2903,
Dress and Personal Appearance of Air Force Personnel (Feb. 7, 2020), https://perma.cc/ME57-
FDM7; Secretary of the Air Force, Air Force Policy Directive 52-2, Accommodation of Religious
Practices in the Air Force (July 28, 2020), https://perma.cc/RX7U-ZEMX; see also Secretary of
the Air Force, Department of the Air Force Instruction 52-201, Religious Freedom in the
Department of the Air Force (June 23, 2021), https://perma.cc/E3HQ-MNZS.


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person. Compl. ¶¶ 124-25. Chahal also fully practices other aspects of his faith, including attending

Gurdwara daily after work for multiple hours, where he participates in prayers, hymns, and

religious discussion. Compl. ¶ 126. Every week, he volunteers his time teaching martial arts to

Sikh children. Compl. ¶ 127. Because of his religious beliefs, he is a vegetarian, and he does not

consume tobacco or alcohol. Compl. ¶ 128.

    Chahal’s Desire to Join the Marine Corps

    Chahal is currently a fully qualified candidate for accession into the Marine Corps. Ever since

he was a child, he has wanted to serve his country in the armed forces because of his love for

America and his passion for defending his community from injustice. Compl. ¶ 130. Chahal’s faith

is at the core of his decision to become a Marine, and he believes every American should give back

to their country through military or government service. Compl. ¶ 131. Chahal desires to join the

Marine Corps specifically because it prides itself on being one of the most elite institutions in the

world. Compl. ¶ 136. He wants to follow in the legacy of military service, as many observant Sikhs

have before him, and is committed to giving his all to the Marine Corps. Id. That is why he made

this request before accession. Compl. ¶ 137. Being forced to shave his beard and cut his hair to

enter recruit training would violate his sincere religious beliefs and practices observed since

childhood, incurring irreparable harm to his religious identity. Compl. ¶ 86.

    In high school, Chahal participated in Air Force Junior Reserve Officer Training Corps

(ROTC) at Federal Way High School. Compl. ¶ 132. Though he joined his freshman year and

submitted a religious accommodation request then, he was initially not permitted to wear the

uniform or to participate in drills because of his turban. Compl. ¶ 133. He also experienced ridicule

and backlash from authority figures due to his articles of faith. Id. Despite these challenges, Chahal

continued showing up and was committed to participating to whatever extent possible. Id.

Eventually, he received a letter from the Pentagon ensuring that he could wear his turban, beard,




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and religious articles with his uniform and began fully participating in the program. Compl. Ex.

GG.

      Throughout his Air Force Junior ROTC participation, Chahal received numerous ribbons,

including dress-and-appearance, academic, leadership-school, and achievement ribbons.

Compl. ¶ 134. Thus, despite the initial discrimination he experienced, Chahal enjoyed and valued

his time in the program and the experience strengthened his goal of serving his country in the

military. Compl. ¶ 135.

      Aekash Singh’s Commitment to the Sikh Faith
      Aekash Singh has also been a practicing Sikh since childhood. Compl. ¶ 170. In 2007, shortly

after he was adopted at the age of five, he immigrated to the United States and became a citizen

that same year. Compl. ¶ 179. He has lived in San Carlos, California ever since, and speaks

English, Hindi, and Punjabi. Id. His Sikh faith requires him to defend his community and to protect

against injustice. Compl. ¶ 178. He has never cut his hair, and he has worn a turban since eighth

grade, even when he was the only student wearing one at his school. Compl. ¶¶ 170-71. These

religious articles are an integral part of his identity. Compl. ¶ 171. Aekash keeps his hair, including

his beard, unshorn because maintaining it in a natural state is regarded as living in harmony with

the will of God. Compl. ¶¶ 81, 171. Throughout his childhood, Aekash attended Gurdwara every

week and he has continued attending regularly. Compl. ¶ 172. As part of his religious practice,

Aekash does not drink alcohol. Compl. ¶ 177. He also seeks to learn more about the history of his

faith by reading scriptures and other sacred texts. Id.

      As a child, Aekash participated in Charni Lagna, an auspicious ceremony celebrating his

ability to read from the Guru Granth Sahib, the Sikh holy scripture written in Gurmukhi, the written

form of the Punjabi language. Compl. ¶ 173. He also participated in the Dastar Bandi turban-tying

ceremony, where he publicly committed to wear his turban as a spiritual discipline signifying

sovereignty, dedication, self-respect, morality, courage, and piety. Compl. ¶ 175. The turban has

immense spiritual and temporal significance to Aekash, and he wears it out of love and as a mark

of commitment to his faith. Id. To this day, he has never gone out in public without a turban and


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wears a patka (a smaller head covering) even when he is swimming or playing competitive sports.

Id. Since he was a young child, Aekash has also continually worn the kara, an iron or steel bracelet,

to remind himself that he is a servant of God and should not take any action that may bring shame

or disgrace. Compl. ¶ 176. In short, Aekash’s religious exercise and identity is intertwined with

these articles of faith, which have deep spiritual and moral significance to him.

   Aekash Singh’s Desire to Join the Marine Corps

   Aekash believes in giving back to his country and committing to something greater than

himself. Compl. ¶ 179. Members of his family have a history of military service, including a great-

great-grandfather who served in World War II and an uncle who currently serves as an officer in

the U.S. Army. Compl. ¶ 180. Like brave Sikhs before him, he wishes to follow in this legacy of

service and leadership. Id. His interest in joining the U.S. military started at a young age, when he

heard stories from his mother who—from her own childhood—wanted to be a pilot in the Air

Force. Compl. ¶ 181. When his parents got married, they both wanted to join the Army, but were

unable to because his father would have had to cut his hair and violate his religious beliefs.

Compl. ¶ 182. Aekash later became passionate about the Marine Corps after speaking with the

father of one of his best friends who is a retired Marine. Compl. ¶ 183. Aekash views the Marine

Corps as the most challenging branch of the U.S. military when it comes to training and discipline,

and he is committed to meeting this challenge to defend his country and support the brave women

and men in our military in the air, on the ground, and in the water. Compl. ¶ 184. He also views

the Marines as the “warrior” branch of the military, which he relates to the rich tradition of Sikhs

serving as courageous warriors against injustice. Id. Aekash passed all physical and medical tests

in October 2020, and first submitted his religious accommodation request on March 1, 2021.

Compl. ¶¶ 186, 189. He is honored by the opportunity to serve in a manner that reflects the Marine

Corps values of honor, courage, and commitment. Compl. ¶ 184.

   Jaskirat Singh’s Commitment to the Sikh Faith

   Jaskirat Singh has also been a practicing Sikh his entire life. Compl. ¶ 150. He is a second-

generation Sikh American born in Texas. Id. His faith goes to the core of his identity and motivates


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him to serve his fellow Americans. Compl. ¶ 155. Like all other observant Sikhs, he sincerely

believes that keeping his hair unshorn is an essential part of the Sikh faith and way of life, and that

removing hair from the body is as reprehensible as adultery. Compl. ¶¶ 153-54. As a young man,

he underwent the Dastar Bandi turban-tying ceremony, where he publicly committed to wear his

turban as a religious exercise, and as an adult Sikh he believes he should always cover his head

with a turban. Compl. ¶ 153. The Rehat Maryada mandates the turban as a reminder of the Sikh’s

duty to maintain and uphold the core beliefs of the faith. Compl. ¶ 154. Historically, uncut hair

and turbans have been central features of an observant Sikh’s identity, and to deny Jaskirat these
aspects of his religious identity is to deny him the right to belong to the Sikh faith. Id. Jaskirat has

also worn his kara since he was a small child, and he abstains from alcohol and tobacco as a matter

of religious devotion. Compl. ¶¶ 151-52.

    Jaskirat Singh’s Desire to Join the Marine Corps

    Ever since Jaskirat was a child, he has wanted to serve his country in the armed forces.

Compl. ¶ 155. This desire arose from his love for America and his passion for defending others

from injustice—values that are rooted in his religious faith. Id. Because he wants to follow in the

legacy of military service, as his great-grandfather and many other observant Sikhs have before

him, he is committed to becoming a Marine. Compl. ¶ 160. He has passed all physical and medical

tests and, if not for his accommodation request, would—in the eyes of the Marine Corps—be ready

to begin his recruit training. Compl. ¶ 158. The Delayed Entry Program, which Jaskirat entered

when he signed his contract, allows a recruit to wait only one year to begin recruit training.

Compl. ¶ 169. Thus, absent relief from this Court, his contract will expire on April 30, 2022. Id.

    Relevant U.S. Marine Corps Regulations

    Both the Department of Defense and the Marine Corps have adopted regulations regarding

religious accommodation requests. Department of Defense regulations state that the Department

“will normally accommodate practices of a Service member based on sincerely held religious

belief.” Compl. Ex. Y at ¶ 1.2(e). These regulations explicitly adopt the language and legal

standards of RFRA: if a military “policy, practice or duty substantially burdens a Service member’s


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exercise of religion, accommodation can only be denied if” the policy is “in furtherance of a

compelling governmental interest” and is “the least restrictive means of furthering that compelling

governmental interest.” Id. The instruction also affirmatively provides that the Department of

Defense “will accommodate individual expressions of sincerely held beliefs . . . which do not have

an adverse impact on military readiness, unit cohesion, good order and discipline, or health and

safety.” Id. at ¶ 1.2(b).

    The Marine Corps grooming regulations incorporate these instructions by reference. “Marines

may wear . . . [a]rticles of religious apparel which are not visible or apparent when worn with the

uniform” and “[v]isible articles of religious apparel with the uniform as permitted by

10 U.S.C. § 774, 42 U.S.C. § 2000bb-1, DoDI 1300.17, and SECNAVINST 1730.8, with approval

of CMC or designee.” Compl. Ex. V, MCO 1020.34H (May 1, 2018), at ¶ 6(a)-(c).

    The Marine Corps also recently updated its religious accommodation guidance, recognizing

its obligations under both RFRA and the Free Exercise Clause. Compl. Ex. L, MCO 1730.9 (July

12, 2021). These regulations describe the detailed process for religious accommodation requests,

both pre-accession and post-accession. Id. These regulations make clear that “service members

have a right to observe the tenets of their religion,” and they fully incorporate the standards of

RFRA. Id. ¶¶ 1, 3(a)(1). Finally, MCO 1730.9 emphasizes that “[n]o Marine will be asked to

change their personal beliefs, including religious beliefs, which are protected by the United States

Constitution” and that the Marine Corps “has an obligation to try to find ways to facilitate each

Marine’s commitment to their faith as well as to each other.” Id. at ¶ 3(b)(3).

    Milaap Singh Chahal’s Efforts to Obtain an Accommodation

    On March 1, 2021, Chahal sought a religious accommodation allowing him to wear his hair

uncut, including an unshorn, neatly groomed beard, and to wear the turban with his Marine

uniform, to fully reconcile his religious identity with his service as a Marine. Compl. Ex. BB. On

June 30, 2021, he went with his recruiters to a Military Entrance Processing Station (MEPS), where

he passed the Armed Services Vocation Aptitude Battery (ASVAB) test. Compl. ¶ 138. He also

passed all other physical and medical tests required for entrance into the Marines. Id. His recruiters


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told him he was fully qualified to join, but they sent him home early from MEPS saying he could

not sign a contract or swear in without either removing his turban and hair or receiving a religious

accommodation. Compl. ¶ 139.

    On September 27, 2021, the Deputy Commandant for Manpower and Reserve Affairs (“DC

M&RA”) granted a temporary, partial accommodation, with severe limitations. Compl. Ex. J. Most

egregiously, to commence his service, Chahal must cut his hair and shave his beard, and also

abandon all other articles of faith—even those not visible when he’s in uniform—for the duration

of his recruit training. Id. at ¶ 4a. After recruit training, he would still have to shave his beard and

discard his turban whenever serving in a ceremonial role. Id. at ¶¶ 4b(2), (5). And he would not be
allowed maintain a beard when deployed and receiving “hostile fire” or “imminent danger” pay—

a status that accompanies deployments to over 30 nations where the U.S. military has a presence,

including countries such as Greece, Israel, and Kenya. Id. at ¶ 4b(3). His accommodation letter

also suggested that, after accession, the accommodation could be subject to revocation by

subsequent commanders and upon permanent changes of station or assignment. Id. at ¶ 6.

    On October 21, 2021, Chahal submitted an appeal to the Commandant of the Marine Corps,

requesting an accommodation allowing him to wear his beard, unshorn hair, and religious articles

during recruit training in accordance with his sincere religious beliefs. Compl. Ex. K. Chahal also

requested the ability to wear his beard and turban after recruit training, in both ceremonial and

deployment environments, throughout his career. Nearly six months later, his appeal is still

awaiting a response. Even though the Marine Corps is obligated by its own regulations to forward

his request up the chain of command within 30 days and issue a response within 60 days,

Compl. Ex. L at ¶¶ 4b(1)(b)-(c), a total of 174 days have passed with no response. Continuing to

await a response        is   futile   given   Defendants’     consistent   unwillingness     to   grant

accommodations during recruit training. Moreover, Chahal will continue to face a total barrier

to entry into his career, and even if the barrier eventually falls, continued delay eventually will

force him to start the entrance process over again because his ASVAB test results will expire in

June 2023. Compl. ¶ 149.


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    Aekash Singh’s Efforts to Obtain an Accommodation

    When Aekash first began conversations with recruiters, he expressed a desire for religious

accommodation so that he could join the Marines without compromising his core religious beliefs

and practices. Compl. ¶ 185. After working with a recruiter, Aekash went to MEPS on September

30, 2020. Compl. ¶ 186. He took and passed the ASVAB test and physical tests at that time, but

MEPS personnel refused to give him a contract to sign. Id. Instead, they asked Aekash if he would

cut his hair. Id. When he declined because of his religious beliefs, the recruiter told him he was

not authorized to join the Marines. Id.

    A formal accommodation process for pre-accession recruits was not yet in place, but Aekash’s

recruiter encouraged him to submit a request for accommodation and promised to help in getting

it processed. Compl. ¶ 187. On October 9, 2020, under guidance from recruiters who told him he

could enter the Delayed Entry Program, Aekash returned to MEPS to swear in, again was asked to

sign a document promising to cut his hair. Compl. ¶ 188. When he declined because of his religious

beliefs, he was told to leave the swear-in room and denied entry once again. Id.

    Aekash then submitted a pre-accession request for religious accommodation to the DC

M&RA, Defendant LtGen David Ottignon, on March 1, 2021. Compl. Ex. O. On March 2,

Aekash’s attorneys shared a copy of his request with then-Acting Navy General Counsel Gary

Ressing and were ultimately referred to Major General Daniel Lecce. Compl. ¶ 190. Over the next

seven months, Aekash’s attorneys spoke multiple times with Major General Lecce, who confirmed

on June 3, 2021 that “[w]e are tracking your client[’]s pending accommodation request.”

Compl. ¶ 193. Per Marine Corps regulations, this pre-accession request should have been

forwarded to the DC M&RA within 30 days of submission to his recruiter, and the DC M&RA

should have made its review and final determinations within 60 days of receipt. Compl. Ex. L at

¶¶ 4b(1)(b)-(c). The Marine Corps missed both these deadlines.

    After repeated attempts by Aekash’s attorneys to receive updates about his accommodation

request over the course of a year, counsel for the Commandant claimed on October 8, 2021, that

Aekash “has not officially begun the religious accommodation process” and “would need to re-


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initiate communication with Marine Corps recruiters to confirm that he is still interested in

enlisting.” Klapper Decl. Ex. D; Compl. ¶ 194. But Aekash had consistently responded to his

recruiters and continued expressing his interest in joining the Marine Corps. Nonetheless, in the

interest of moving his accommodation forward—and given his desire to serve our country as a

Marine—in October 2021, Aekash re-delivered in person his original religious accommodation

package to Marine Corps Recruiting Command. Compl. ¶ 196. Two months later, in December

2021, his recruiter responded by asking him to write a statement erroneously confirming that he

was a “conscientious objector” “due to [his] religion,” because “the command is asking for it.”

Compl. Ex. CC. Aekash again clarified that he wants “to obtain a religious accommodation to

enlist into the United States Marine Corps,” not that he is a “conscientious objector.” Id.

    On February 22, 2022, nearly a year after Aekash’s original request and four months after he

resubmitted the same request, the DC M&RA granted a temporary, partial accommodation with

severe limitations. Compl. Ex. Q. Most egregiously, to commence his service, Aekash would, for

the first time ever, have to cut his hair, shave his beard, and abandon his kara to commence his

recruit training. Id. at ¶ 3a. And like Chahal, he would not be allowed to maintain his beard when

deployed and receiving “hostile fire” or “imminent danger” pay. Id. at ¶ 3b(5). His accommodation

letter also suggests that, after accession, the accommodation could be subject to revocation by

subsequent commanders and upon permanent changes of station or assignment. Id. at ¶ 5.

    To follow the Marine Corps’ internal procedures, Aekash submitted his appeal on March 8,

2022. Compl. Ex. R. But awaiting a response would be futile given Defendants’ consistent

unwillingness to grant accommodations during recruit training. In the meantime, since the Marine

Corps claims to have lost his original request after taking nearly a year from his first submission

to respond, he continues to face a complete barrier to his Marine Corps career. Klapper Decl. Ex.

D. Further, continued delay eventually will force him to start the entrance process over again

because his ASVAB test results will expire in September 2022. Compl. ¶ 205. Urgent relief is thus

warranted.




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     Jaskirat Singh’s Efforts to Obtain an Accommodation

     On November 24, 2021, Jaskirat Singh sought a religious accommodation allowing him to

wear his hair, including his beard, uncut, and to wear the turban while in uniform to fully maintain

his religious identity while serving as a Marine. Compl. Ex. M. On February 7, 2022, Jaskirat

received a response from Defendant Ottignon, the Deputy Commandant for Manpower and

Reserve Affairs. Compl. Ex. A. The partial, temporary approval Jaskirat received does not protect

his religious exercise because of the many limitations imposed. Under his current accommodation,

during recruit training, Jaskirat is not authorized to wear any of his articles of faith. Id. at ¶ 3a.

Thus, in order to enter the Marines Corps at all, Jaskirat would have to violate his faith by shaving

and cutting his hair for the first time ever. He could not wear his kara either. After recruit training,

Jaskirat may only wear a beard when not receiving hostile-file or imminent-danger pay. Id. at

¶ 3b(5). If deployed to one of the dozens of locations covered by these categories, he would

immediately have to shave his beard, regardless of whether the location presents any actual threat

to safety. His accommodation letter also suggests that, after accession, the accommodation could

be subject to revocation by subsequent commanders and upon permanent changes of station or

assignment. Id. at ¶ 5. In explaining its denial of Jaskirat’s request for accommodation during

recruit training, the Marine Corps claimed a need for “breaking down individuality and training

recruits to think of their team first.” Id. at ¶ 2d. Given the Marine Corps’ extensive consideration

of this issues, it is unlikely that its position will change in response to Jaskirat’s internal appeal,

which he filed on February 21, 2022. Ex. N.

     Other Accommodations Granted by the U.S. Military and Marine Corps

     Other branches of the U.S. military currently accommodate service members with religious

beards and turbans, including Sikh service members. Since the Army changed its policy in 2017,

at least 100 Sikhs currently serve with courage and distinction. 10 The Army allows religious beards

except when there is actual risk of CBRN (chemical, biological, radiological, and nuclear)

10
    Philipps, The Marines Reluctantly Let a Sikh Officer Wear a Turban. He Says It’s Not Enough,
https://perma.cc/25E4-XNVR.


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exposure. 11 In February 2020, the Air Force updated its policy to allow religious beards, and it has

recently approved individual accommodations for Muslim and Sikh service members, among

others. 12

     Further, the Marine Corps recently relaxed other aspects of its grooming policies to improve

its diversity outreach, directly undermining its claim that its interest in uniformity is so compelling

that protected expression of diverse faith traditions must give way. Compl. Ex. W (relaxing

regulations for male haircuts, helmet caps, fingernail polish, and maternity dress); Compl. Ex. B

(relaxing tattoo regulations); Compl. Ex. T (expanding medical beard accommodations). As

General David Berger explained, “[t]he Marine Corps draws its collective strength and identity

from all its Marines, so it is critical that we prioritize policies that maximize the individual

strengths of every Marine, regardless of race, gender, sexual orientation, creed, or any other

marker.” 13 And on November 15, 2021, Secretary of the Navy Carlos del Toro issued guidance to
the Navy and the Marines stating that “[d]iversity, equity and inclusion (DE&I) are inextricably

linked to the readiness and mission success of our Navy and Marine Corps team.” Compl. Ex. X.

He explained that “[a]ccessing individuals with different perspectives adds to our ability to solve

problems on and off the battlefield, and amplifies the capability of our forces . . . . To successfully

meet those challenges, we require a Navy and Marine Corps that is diverse, with a wide array of

ideas and capabilities, a total force that reflects the Nation whose principles we defend.” Id.

Secretary del Toro also recently committed to “emphasizing diversity, equity, and inclusion in

every aspect of our force,” because “[we] can only overcome the complex challenges we face

every day by cultivating the talent and unique insights of individuals from diverse personal,


11
     See Army Directive 2018-19 ¶ 5(b)(1)-(2) (Nov. 8, 2018), https://perma.cc/X7P8-8492.
12
    See Air Force Instruction 36-2903, Dress and Personal Appearance of Air Force Personnel,
https://perma.cc/ME57-FDM7; see also Oriana Pawlyk, Air Force Special Operations Approves
First Beard, Turban Waiver for Sikh Airman, Military.com (July 30, 2020),
https://perma.cc/4UZZ-TX3G.
13
   Philip Athey, Here’s Where Ponytails Stand for Women in the Marine Corps, Marine Corps
Times (Nov. 4, 2021), https://perma.cc/DR75-BAP3.


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cultural, and professional backgrounds.” 14 Thus, multiple high-ranking officials have

acknowledged the importance of diversity, including religious diversity, as not only aligned with

the Marine Corps’ goals but in fact mission critical.

     To further these goals, the Marines updated its grooming policies on October 29, 2021 to allow

for tattoos anywhere on the body except the head, neck, and hands, including full-sleeve tattoos.

Compl. Ex. B. It also allows Marines and applicants with face or neck tattoos that would not be

covered by the uniform to request exceptions. Id. at ¶ 4(a)(2)(h). Since 2018, the Marines has also

allowed women to wear alternative hairstyles including locks, twists, and braids. Compl. Ex. V.

And on January 21, 2022, the Marine Corps announced its new exemption policy for Marines with

medical-beard needs such as pseudofolliculitis barbae, a painful facial condition—affecting

roughly 60% of African-American men—inflamed by shaving. 15 Compl. Ex. T. While the Marines
has long permitted temporary exemptions to its grooming requirements for service members with

medical conditions, medical personnel are now authorized to grant permanent exemptions directly

without going through the requesting individual’s commander. Id. Marines are no longer required

to carry a copy of their medical waiver on their person. Id. Further, Marines can no longer be

separated or denied reenlistment because of ongoing medical conditions that prevent them from

shaving. Id. On March 23, 2022, the Marines released yet another grooming update, allowing

fingernail polish and updated maternity options for female Marines, extending some limitations

on hair length, and allowing male Marines to adjust their hairlines and wear helmet caps beneath




14
    Carlos Del Toro, One Navy-Marine Corps Team: Strategic Guidance From The Secretary of
the Navy, 5 (Oct. 2021), https://perma.cc/MDT2-7TQM.
15
    As of 2020, there are 17,089 Black male Marines on Active Duty. 2020 Demographics: Profile
of the Military Community, Department of Defense, https://perma.cc/Q38V-AJN5. An estimated
60% of them suffer from pseudofolliculitis barbae. Pseuodfolliculitis Barbae, American
Osteopathic College of Dermatology, https://perma.cc/EB8Z-SXGU; see also Geoff Ziezulewicz,
How the Navy’s Beard Policy Discriminates Against Black Sailors, Navy Times (Apr. 5, 2022),
https://perma.cc/T3D3-MG7U.


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their helmets. Compl. Ex. W. These changes are designed to “promote a culture of inclusion while

maintaining a high level of professionalism.” 16

     As General David Berger recently acknowledged, such efforts do not undermine the Marine

Corps’ ability to accomplish its mission, but instead further it because “[t]here’s a retention

incentive in there that we don’t fully appreciate, that is taking care of the individual.” 17 In short,

most of the time, the Marine Corps gets the tradeoff between uniformity and diversity right. Yet

when it comes to statutorily and constitutionally protected religious expression, it chooses to

discriminate.

           STANDARD FOR GRANTING PRELIMINARY INJUNCTIVE RELIEF
     Plaintiffs are entitled to a preliminary injunction allowing them to maintain their hair, beards,

and religious articles (including the turban) during recruit training and for the pendency of this

case. When seeking a preliminary injunction under Federal Rule of Civil Procedure 65, a plaintiff

must show: (1) a likelihood of success on the merits; (2) a likelihood of irreparable harm if

injunctive relief is not granted; (3) that the balance of interests among the parties favors injunctive

relief; and (4) that injunctive relief would be in the best interest of the public generally. Sherley v.

Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011) (citing Winter v. Nat’l Res. Def. Council, Inc., 555

U.S. 7 (2008)). As explained fully below, Plaintiffs are suffering and—absent injunctive relief—

will continue to suffer a deprivation of their rights under RFRA, the Free Exercise Clause, and the

Fifth Amendment’s guarantee of equal protection. All four factors thus line up in their favor.

                                             ARGUMENT

     In this application for preliminary injunction, Plaintiffs raise four of the claims set forth in the

verified complaint regarding the denial of their accommodation requests: (1) Count I, applying

RFRA; (2) Counts II and III, applying the Free Exercise Clause; and (3) Count VI, applying the


16
    Updated Uniform Regulations per MARADMIN 134/22, Facebook (Mar. 23, 2022),
https://perma.cc/3EX8-3FCL.
17
  Philip Athey, Corps’ Sergeant Major Calls for Improved Treatment, Care of Junior Marines,
Marine Corps Times (Aug. 9, 2021), https://perma.cc/QL7K-6GWZ.


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Fifth Amendment’s equal protection guarantee. For the reasons set forth below, Plaintiffs are likely

to succeed on the merits of each of these claims. The Marine Corps cannot show that forcing

Plaintiffs to shave, cut their hair, and remove all religious articles to begin recruit training is the

least restrictive means of furthering any compelling government interest. Because Plaintiffs are

likely to succeed on the merits of their claims and satisfy the other injunctive relief factors as well,

preliminary injunctive relief should be granted.

I. Plaintiffs are likely to succeed on their RFRA claims.

    RFRA provides that the “Government shall not substantially burden a person’s exercise of

religion” unless it “demonstrates that application of the burden to the person—(1) is in furtherance

of a compelling governmental interest; and (2) is the least restrictive means of furthering that

compelling governmental interest.” 42 U.S.C. § 2000bb-1(a), (b) (emphasis added).

    RFRA applies to the military, because the term “government” includes any “branch,

department, agency . . . and official . . . of the United States,” 42 U.S.C. § 2000bb-2(1); see also

Singh v. Carter, 168 F. Supp. 3d 216, 229 (D.D.C. 2016) (granting TRO to protect Sikh Army

soldier from discriminatory testing related to his religious beard and turban, because he showed a

likelihood of success under RFRA); Singh v. McHugh, 185 F. Supp. 3d 201, 217 (D.D.C. 2016)

(finding that Army’s refusal to grant Sikh soldier an “accommodation that would enable him to

enroll in ROTC while maintaining his religious practice” of wearing a beard and turban violated

RFRA). These agencies include the Department of Defense, the Marine Corps, and their officers

in their official capacities. United States v. Sterling, 75 M.J. 407, 410 (C.A.A.F. 2016) (citing

“Secretary of the Navy Instr[uction] 1730.8B CH-1, Accommodation of Religious Practices,”

which applies RFRA to the Navy); Rigdon v. Perry, 962 F. Supp. 150 (D.D.C. 1997) (applying

RFRA against the Secretary of Defense and the Secretaries of the Army, Navy, and Air Force);

see also Compl. Ex. Y at ¶ 1.2(e)(1) (adopting the RFRA standard for military accommodations).

   At the preliminary injunction stage, the burdens of proof on a RFRA claim “track the burdens

at trial.” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 429 (2006).

Thus, it is the plaintiff’s initial burden to show that his sincere religious exercise has been


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substantially burdened. Id. at 428; see also Holt v. Hobbs, 574 U.S. 352, 360 (2015) (“[P]etitioner

bore the initial burden of proving that the Department’s grooming policy implicates his religious

exercise.”). But once that showing is made, the burden then shifts to the government to show that

it has a compelling interest in overriding the religious exercise that cannot be satisfied through less

restrictive means. O Centro, 546 U.S. at 429. Here, the Marine Corps cannot reasonably dispute

that Plaintiffs’ religious beliefs—the ordinary beliefs of hundreds of thousands of American

Sikhs—are sincere and substantially burdened by Marine Corps grooming regulations and the

restrictions placed in Plaintiffs’ accommodations. Nor can the Marine Corps meet its own burden

of proof. The only compelling government interest it asserts is that of uniformity. But even

assuming that some level of uniformity qualifies, the Marine Corps’ own actions show that the

minor variations sought by Plaintiffs here would not implicate that interest. The Marine Corps has

already conceded that many of the accommodations Plaintiffs seek will be permitted post-training,

when serving in operational units might call for the heightened cohesion and esprit de corps

purportedly enhanced by uniformity. And even during training, the Marine Corps allows many

deviations from earlier standards of uniformity to accommodate individuals with interests that,

unlike religion, have no constitutional protection. It follows that the Marine Corps cannot show

that requiring Plaintiffs to shave, cut their hair, and remove their religious articles during training

or in other phases of their careers furthers a compelling government interest at all, let alone in the

least restrictive way.
    A. Plaintiffs are sincerely compelled by their Sikh faith to wear beards, unshorn hair,
       turbans, and other religious articles as a sign of devotion to God.
    Plaintiffs’ sincere desire to observe Sikh religious practice cannot reasonably be questioned.

“Though the sincerity inquiry is important, it must be handled with a light touch, or ‘judicial

shyness.’” Moussazadeh v. Tex. Dep’t of Crim. Just., 703 F.3d 781, 792 (5th Cir. 2012) (quoting

A.A. ex rel. Betenbaugh v. Needville Indep. Sch. Dist., 611 F.3d 248, 262 (5th Cir. 2010)). Thus,

courts should limit themselves “to ‘almost exclusively a credibility assessment’ when determining

sincerity.” Id. (citing Kay v. Bemis, 500 F.3d 1214, 1219 (10th Cir. 2007)). At the preliminary



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injunction stage, Plaintiffs’ sworn statements are sufficient to establish their sincerity. Roman

Catholic Archbishop of Wash. v. Bowser, 531 F. Supp. 3d 22, 35 (D.D.C. 2021) (“find[ing] that

the Archdiocese’s belief is sincere” at the preliminary injunction stage based on sworn statements);

see also Compl. ¶¶ 123-29 (Milaap Singh Chahal); ¶¶ 150-54 (Jaskirat Singh); ¶¶ 170-78 (Aekash

Singh). That is particularly so where the sworn statement attests to longstanding pre-litigation

engagement in the religious exercise. Capitol Hill Baptist Church v. Bowser, 496 F. Supp. 3d 284,

294 (D.D.C. 2020) (finding sincerity “evident in the Church’s pre-COVID-19 practices”). Further,

while religious beliefs need not be “shared” by others to be protected by the law, the Supreme

Court has found it instructive in a credibility determination that the asserted belief was “by no

means idiosyncratic” within the broader faith community. Holt, 574 U.S. at 362. Here,

longstanding Sikh practices, texts, and teaching align perfectly with Plaintiffs’ beliefs that they

“are enjoined to wear at all times the uniform of their beliefs,” including “unshorn hair” and a

beard. Introduction to Sikhism, 1 Religious Organizations and the Law § 1:23 (2d ed.). Thus,

Plaintiffs have met their burden at the preliminary injunction stage to show a substantial likelihood

that their accommodation request is based in sincere Sikh religious practice.
    B. The Marine Corps’ refusal to accommodate Plaintiffs’ religious practices imposes a
       substantial burden on their religious exercise.
    There is also no question that refusing to accommodate Plaintiffs’ Sikh religious practice

would constitute a substantial burden on their exercise of religion. “A substantial burden exists

when government action puts ‘substantial pressure on an adherent to modify his behavior and to

violate his beliefs.’” Kaemmerling v. Lappin, 553 F.3d 669, 678 (D.C. Cir. 2008) (quoting Thomas

v. Rev. Bd., 450 U.S. 707, 717-18 (1981)). Although substantial burdens can come in other forms

as well, it is well established that this standard is satisfied when the plaintiff is “force[d] to choose

between following the precepts of her religion and forfeiting benefits, on the one hand, and

abandoning one of the precepts of her religion in order to accept work, on the other hand.” Sherbert

v. Verner, 374 U.S. 398, 404 (1963); see also Autor v. Pritzker, 740 F.3d 176, 182 (D.C. Cir. 2014)

(finding a viable claim when lobbyists were forced to choose between their First Amendment right



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to petition the government and the benefit of serving on a federal advisory committee). Being put

to the choice of giving up their religious beliefs or giving up the opportunity to serve in the Marine

Corps altogether (or facing military discipline or adverse administrative action if they refuse to

shave and remove their religious articles for recruit training) unquestionably imposes a substantial

burden on Plaintiffs’ religious exercise. Case law in the military context and other closely

controlled government environments (like prisons) confirms this conclusion. See Holt, 574 U.S. at

361 (grooming policy that subjected prisoner to “serious disciplinary action” for growing beard

constituted a substantial burden); McHugh, 185 F. Supp. 3d at 217 (Army’s refusal to grant Sikh

soldier an “accommodation that would enable him to enroll in ROTC while maintaining his

religious practice” constituted a substantial burden); cf. Carter, 168 F. Supp. 3d at 229 (Army’s

“specialized testing for further processing of [Sikh soldier’s] religious accommodation request is

a substantial burden when such testing is not required for soldiers to obtain exceptions from the

Army uniform and grooming regulations”). Because the Marine Corps’ grooming regulations

impose a substantial burden on Plaintiffs’ religious beliefs, they are entitled to an accommodation

unless the Marine Corps can show that granting one would impair a compelling government

interest that cannot be satisfied via a less restrictive means. As elaborated below, the Marines

cannot make this showing.
   C. The Marine Corps has no compelling interest in forcing Plaintiffs to forgo their
      religious practice to commence serving their country.
   Because the Marine Corps’ regulations substantially burden Plaintiffs’ religious exercise, “the

burden [of strict scrutiny] is placed squarely on the [Marine Corps].” O Centro, 546 U.S. at 429.

Defendants thus must prove that coercing Plaintiffs to shave and remove their religious articles

before recruit training “(1) is in furtherance of a compelling governmental interest; and (2) is the

least restrictive means of furthering that compelling governmental interest.” 42 U.S.C. § 2000bb-

1(b). This is the “most demanding test known to constitutional law,” City of Boerne v. Flores, 521

U.S. 507, 534 (1997), and a test that this Court recently ruled the armed forces flunked in a similar




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case involving a Sikh recruit. See McHugh, 185 F. Supp. 3d at 225-227; cf. Army Directive 2018-

19.

      To meet RFRA’s demanding test, the Marine Corps cannot simply cite “broadly formulated

interes[ts]” that, at a high level of generality, seem compelling. Holt, 574 U.S. at 362. RFRA

demands a “‘more focused’ inquiry: It ‘requires the Government to demonstrate that the

compelling interest test is satisfied through application of the challenged law “to the person”—the

particular claimant whose sincere exercise of religion is being substantially burdened.’” Burwell

v. Hobby Lobby Stores, Inc., 573 U.S. 682, 726 (2014) (quoting O Centro, 546 U.S. at 430-31). In

other words, the Marine Corps must show that it has a compelling interest in imposing its grooming

requirement specifically on Plaintiffs during recruit training in particular. Thus, this Court must

“scrutinize the asserted harm of granting specific exemptions to particular religious claimants

and . . . look to the marginal interest in enforcing the challenged government action in that

particular context.” Holt, 574 U.S. at 363 (cleaned up). The Marine Corps “cannot simply invoke

general principles” to deny a servicemember's religious accommodation. McHugh, 185 F. Supp.

3d at 223. It must evaluate Plaintiffs’ request in the context of their particular circumstances of

recruit training. And it must show it has a compelling interest in eliminating any “marginal” risk

that arises from granting an accommodation to Milaap Singh Chahal, Aekash Singh, and Jaskirat

Singh specifically. Holt, 574 U.S. at 363.

      This rule applies even to critically important interests such as protecting public health during

a pandemic, Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020); enforcing

the nation’s drug laws, O Centro, 546 U.S. at 433; prison safety, Holt, 574 U.S. at 362; prevention

of animal cruelty, Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 543-

44, 546 (1993); traffic safety, Solantic, LLC v. City of Neptune Beach, 410 F.3d 1250, 1267-68

(11th Cir. 2005); protecting personnel in federal buildings, Tagore v. United States, 735 F.3d 324,

330-31 (5th Cir. 2013); and controlling government costs, Rich v. Secretary, Florida Department

of Corrections, 716 F.3d 525, 533 (11th Cir. 2013). Under strict scrutiny, “so long as the




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government can achieve its interests in a manner that does not burden religion, it must do so.”

Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1881 (2021).

   The Marine Corps’ general interests in uniformity, discipline, or good order are insufficient to

justify forcing Plaintiffs to shave, cut their hair, and remove their religious articles before recruit

training. Any purported interest in uniformity, discipline, or good order is fatally undermined by

the fact that existing Marine regulations provide broad categorical exemptions for tattoos and

various women’s hairstyles. Moreover, the Marines has recently updated its beard policy to allow

for permanent medical exemptions, to protect Marines from being separated or denied reenlistment

for being placed in a “no shave” status, and to give medical officers authority to grant exemptions

directly without having to go through the commander. See, e.g., Compl. Ex. T (allowing medical

officers to grant permanent exemptions from shaving when harmful to the individual’s health);

Compl. Ex. S (detailing exemption process for Marines with pseudofolliculitis barbae, which

includes “no shave” chits); Compl. Ex. V at 1-14 (permitting three lengths of haircuts for female

Marines); id. at 1-11 (setting a maximum length of male haircuts, but allowing some leeway within

that maximum); id. at 1-12 (permitting mustaches and the shaving of the scalp).

   The presence of both categorical exemptions and individualized exceptions creates “a higher

burden” on the Marines to “show[] that the law, as applied, furthers [its] compelling interest[s].”

McHugh, 185 F. Supp. 3d at 223 (quoting McAllen Grace Brethren Church v. Salazar, 764 F.3d

465, 472-73 (5th Cir. 2014)). It also makes the existence of a compelling interest both more

important (to guard against religious discrimination) and less likely. Fraternal Ord. of Police v.

Newark, 170 F.3d 359, 365 (3d Cir. 1999) (Alito, J.). As a unanimous Supreme Court explained,

“a law cannot be regarded as protecting an interest of the highest order when it leaves appreciable

damage to that supposedly vital interest unprohibited.” Lukumi, 508 U.S. at 547 (cleaned up). And

“underinclusiveness . . . is often regarded as a telltale sign that the government’s interest in

enacting a liberty-restraining pronouncement is not in fact ‘compelling.’” BST Holdings, L.L.C. v.

Occupational Safety and Health Admin., 17 F.4th 604, 616 (5th Cir. 2021).




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   In Fraternal Order of Police, for example, the Third Circuit struck down a police department’s

“no-beard” policy, concluding that its claimed need for uniformity to “convey the image of a

‘monolithic, highly disciplined force’” was undermined when it allowed officers to grow beards

for medical reasons. 170 F.3d at 365-67. Then-Judge Alito explained that “the Department has

made a value judgment that secular (i.e., medical) motivations for wearing a beard are important

enough to overcome its general interest in uniformity but that religious motivations are not.” Id. at

366; see also Potter v. District of Columbia, 558 F.3d 542, 547 (D.C. Cir. 2009) (affirming

summary judgment for Muslim firefighters because the government failed to “proffe[r] evidence”

that its “clean-shaven requirement [was] narrowly tailored to further the interest of protecting

firefighters”); Kennedy v. District of Columbia, 654 A.2d 847, 855 (D.C. Cir. 1994) (highlighting

how the D.C. Fire Department’s arguments about the need for uniform grooming standards to

promote “esprit de corps” and ensure proper operation of SCBA masks were undermined by

inconsistent enforcement). Here, because the Marine Corps’ regulations “presently do[] not apply”

to thousands of servicemembers, the Marines’ interests in denying an accommodation to Plaintiffs

“cannot be compelling.” Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1143 (10th Cir.

2013).

   The Supreme Court took an even stricter approach to this rule in Fulton, concluding that a

City’s “creation of a system of exceptions” to its nondiscrimination policy—even where no

exception had yet been granted—fatally “undermine[d] the City’s contention that its non-

discrimination policies can brook no departures,” thus failing strict scrutiny. Fulton, 141 S. Ct. at

1882. Here, the Marine Corps has not merely set forth the possibility of seeking exceptions from

the uniformity standard—e.g., for visible and nonvisible tattoos, facial hair, braids, and so on—

but it actually grants such exemptions in the name of diversity, recruitment, and retention.

Compl. Ex. B; Compl. Ex. W. That makes this case easier than Fulton. Allowing the religious

beards and turbans at issue here would impair uniformity no more than individual tattoos, diverse

hairstyles allowed for women, or the diversity in height, build, skin color, and appearance that is

unavoidable among any class of recruits. While uniformity certainly has a role, the Marine Corps


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would not exist without diverse recruits. The exceptions that the Marine Corps carves out for other

kinds of diversity reveal that its actual need is for a strong, uniformly committed team rather than

Marines who appear identical.

        In addition to fatally undermining its interests with categorical and individualized

exemptions, the Marine Corps cannot show that its interest would be impaired by specifically

allowing Plaintiffs to maintain their beards, hair, and religious articles during recruit training. See

O Centro, 546 U.S. at 431 (government must prove “the asserted harm of granting specific

exemptions to particular religious claimants”). The Marine Corps’ regulations direct that

commanding officers may only suspend religious accommodations if necessary due to “the

imminent threat to health and safety.” Compl. Ex. L at ¶ 4d(2)(b). But the Marine Corps has

pointed to no such imminent threat during recruit training. To the contrary, recruit training is the

period of a Marine’s career when he is least likely to encounter enemy fire or other imminent

threats to health or safety. Given that the Marine Corps’ own regulations do not require Plaintiffs

to immediately shave in violation of their religious beliefs, the Marines cannot claim a compelling

interest in forcing them to do so. If unbending uniformity is such a critical element of mission

accomplishment, surely the Marine Corps’ interest would be stronger during actual missions—yet

in that situation its accommodation is more generous, which undermines its alleged compelling

interest for purposes of recruit training. Cf. McHugh, 185 F. Supp. 3d at 225 (Army lacked

compelling interest in denying accommodation to Sikh ROTC applicant, because during training

he would not encounter a “real tactical operation” where he would need to shave); see also Miller

Decl. ¶¶ 5-10 (noting that Navy submarines often allow sailors to grow beards during deployment,

and this does not interfere with their firefighting duties). 18



18
    Should Plaintiffs be deployed during the pendency of this case, they reserve the right to seek
further injunctive relief if the Marines seek to enforce prohibitions on their religious practice not
narrowly tailored to a compelling military interest. For the purposes of this motion, however,
Plaintiffs seek relief pertaining to their ability to commence recruit training, where the restrictions
are at their maximum.


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     Experience from other branches confirms that the concerns underlying the need for

uniformity—the promotion of good order and discipline—do not support a compelling interest

when applied to religious accommodation. In Singh v. McHugh, for example, this Court rejected

the same argument asserted here, noting that observant Sikhs serving in the past, “notwithstanding

the deviation from the uniformity,” had “earned commendations and outstanding reviews” from

their peers and superiors. 185 F. Supp. 3d at 228. Further, the undisputed evidence showed that

none of the “negative consequences” predicted by the Army actually came about. Id. at 229.

Rather, accommodated Sikhs achieved “exemplary service records” once they “had the chance to

prove themselves.” Id. at 230. This Court explained in McHugh that even if a Marine’s failure to

follow standards in some instances “might signal a rebellious streak or reflect a lack of impulse

control or discipline,” applying that rationale to religious accommodations “fails to grapple with

the fact that any deviation from the rules on [a religious observer’s] part flows from a very different

source. And therefore, the decision lacks the individual assessment that is fundamental under

RFRA.” Id. at 227 (requests for religious accommodations “do[] not stem from any lack of self-

control, dedication, or attention to detail”).

     Since McHugh, the evidence has only mounted regarding how religious observance coincides

with good order, with hundreds of observant Sikhs now serving with excellence in the Army and

Air Force—suggesting that the Marine Corps’ asserted compelling interest in enforcing uniformity

by “training [Marines] to think of their team first” is simply not implicated. 19 To the contrary, the

U.S. government has long recognized that failing to respect the “Free Exercise rights” of service

members would both “diminish morale” and “weaken[] our national defense.” Katcoff v. Marsh,

755 F.2d 223, 228 (2d Cir. 1985). So have the Marines: “Spiritual readiness is the quality of a

Marine’s inner self that distinguishes between courage and recklessness,” “is as important as


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   Compare Compl. Ex. A at ¶ 2(d) with Joseph Lacdan, For Massachusetts Soldier, Path to
Military Service Was a Spiritual One, U.S. Army News (Sept. 24, 2020), https://perma.cc/FL7N-
SSYY (“Today, there are hundreds, if not thousands, of patriotic American Sikhs, Jews, Muslims,
Christians and service-members of other faiths who now have religious accommodations.”).


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physical readiness or training,” and “is the bedrock upon which the concepts of honor, courage,

and commitment are built.” 20 “Spiritual readiness is a force multiplier and is the foundation of

moral courage,” which allows Marines to do things that are right “no matter what the cost” and

never permit things that are wrong “no matter what the circumstances.” Id. Here, Plaintiffs’ faith

is the source of their spiritual readiness and motivation to give back to their country.

     In analogous cases, other branches of the armed forces have tried and failed to meet the

compelling interest standard with respect to the very same interests the Marine Corps’ claims here.

In one case, the Army denied Iknoor Singh’s “request to wear unshorn hair, a beard, and a turban”

because of the military’s general interest in “[u]nit cohesion and morale,” “[g]ood order and

discipline,” “[i]ndividual and unit readiness,” and the Sikh applicant’s “health and safety.”

McHugh, 185 F. Supp. 3d at 222; see also Carter, 168 F. Supp. 3d at 229, 234-36 (enjoining

specialized military uniform testing that singled-out a Sikh military officer based on his request to

wear unshorn hair, a beard, and a turban). Those justifications “d[id] not withstand strict scrutiny”

then, McHugh, 185 F. Supp. 3d at 224, and the Marine Corps’ similar interests do not now. In

short, experience from other branches demonstrates what the Marine Corps ignores: that an

accommodation for Plaintiffs to refrain from shaving and removing their religious articles

consistent with their religious beliefs would not harm the Marine Corps’ interests any more than

the categorical deviations in uniformity inherent in the grooming regulations and the thousands of

exceptions to uniformity the Marine Corps has granted to individual Marines.
     D. Even if the Marine Corps did have a compelling interest here, forcing Plaintiffs to
        violate their faith is not the least restrictive means of furthering that interest.
     Because the Marine Corps cannot show a compelling governmental interest in applying shave

orders to Plaintiffs before they begin recruit training, this Court need go no further. But even if the

Marine Corps had shown such an interest, it could not show that forcing Plaintiffs to shave and




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   The Commander’s Handbook for Religious Military Support, U.S. Marine Corps, MRCP 3-
30D.4.


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remove their religious articles in violation of their religious beliefs is the least restrictive means of

furthering that interest.

    Under both DoD’s incorporation of RFRA, Compl. Ex. Y, and the First Amendment’s Free

Exercise Clause, even when a compelling interest might exist as a general matter, the outright

denial of a given request for religious accommodation must include an evaluation that there are no

feasible alternatives to such a denial. Meeting this least-restrictive means standard is

“exceptionally demanding.” Holt, 574 U.S. at 364. But that is the intent of the standard—ensuring

that the Government “must” use “a less restrictive means” if one “is available for the Government

to achieve its goals.” Id. at 365. This requires an evidence-based analysis that considers all

available options. See, e.g., McHugh, 185 F. Supp. 3d at 231 n.23 (finding that the military failed

to pursue workable alternatives when it denied religious beard accommodation for observant

Sikh); Carter, 168 F. Supp. at 232 (finding similarly). Where there are exceptions to a scheme that

the Government insists is the least restrictive, those exceptions defeat the Government’s insistence

by “demonstrat[ing] that other, less-restrictive alternatives could exist.” McHugh, 185 F. Supp. 3d

at 232 n.25 (quoting McAllen Grace, 764 F.3d at 475).

    Applying the standard here yields the same outcome as it did in the previous Carter and

McHugh cases: the Government flunks the test. Plaintiffs’ religious beards, uncut hair, and turbans

could be accommodated in many ways without compromising the unity of the Marine Corps. As

stated above, various neat and conservative deviations from the ordinary uniform are permissible

within the Marine Corps without concern of breaking from the sense of unity or detracting from

the mission. Such styles include full-sleeve tattoos, mustaches for male Marines and haircuts of

various lengths of hair for female Marines. See Compl. Ex. B; Compl. Ex. W; Compl. Ex. V at 1-

12, 1-14, 1-15, fig.1-3.

    The Marine Corps’ total ban on religious articles during recruit training is not the least

restrictive means of accomplishing its interest in uniformity. Plaintiffs made clear in their original

requests that they will maintain their hair and beards in a neat and conservative manner that

presents a professional appearance at all times. Compl. Ex. BB; Compl. Ex. N; Compl. Ex. O. This


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underscores that the accommodation does not mean that Plaintiff’s “training would be devoid of

‘any emphasis on uniformity . . . or that these concerns could not be advanced some other way,’”

including the requirement that they maintain their turban and unshorn hair and beard in a neat and

orderly manner so as to “present a disciplined . . . appearance.” McHugh, 185 F. Supp. 3d at 231.

     Moreover, the policies of similarly situated entities confirm that the Marine Corps cannot meet

the least restrictive means test. For instance, Army regulations permit a “large-scale

exception . . . to its grooming policies” by allowing soldiers to grow beards where medically

necessary. McHugh, 185 F. Supp. 3d at 226. Since 2007, “the Army has permitted more than

100,000 service members,” including officers, “to grow beards for medical reasons.” Id. at 224

(noting that the Army has authorized “at least 49,690 permanent ‘shaving profiles,’ and at least

57,616 temporary ones.”). The Air Force has similarly liberalized its beard policy, especially in

seeking to accommodate the religious beliefs of service members. 21 U.S. Navy regulations have

also recognized the importance of this kind of narrow tailoring, stating that observant Sikh sailors

who are granted a religious accommodation for the turban “are not required to wear military

headgear in addition to their religious head covering if such military headgear would violate their

sincerely held religious beliefs,” subject to the sole exception of “the case of safety or protective

headgear required by a Sailor’s duties, position or assignment.” Compl. Ex. D at ¶ 5d(4)(a). The

Marine Corps, therefore, at a minimum, carries a burden to show why these accommodations that

have proven consistent with good order and safety on other “well-run” branches of the military

could not equally accommodate the Marine Corps’ needs. Cf. Holt, 574 U.S. at 368 (state prison

was outlier in barring religious conduct other prisons had shown could be allowed safely).

     Militaries around the world also accommodate servicemembers with religious headwear and

beards, including in the United Kingdom, Canada, Australia, New Zealand, India, Israel, and the

21
    See Air Force Instruction 36-2903, Dress and Personal Appearance of Air Force Personnel,
https://perma.cc/ME57-FDM7 (“Beards are not authorized unless for medical reasons . . . or as
authorized pursuant to a request for a religious accommodation.”); see also id. Attachment 9
(offering “Sample Turban, Uncut Beard and Hair Approval Memorandum” templates for
commanding officers).


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United Nations. Many other countries including Germany, Hungary, and other NATO members

also allow beards for non-religious reasons without detracting from mission readiness. Miller Decl.

at ¶ 12. Canada’s former Minister of Defence, Harjit Sajjan, is a fully observant Sikh who

previously served alongside U.S. forces in Afghanistan with his full beard. Plaintiffs’ Sikh

counterparts in the Australian Army have specific accommodations for keeping their hair and

beard uncut and wearing the turban. 22 In the interest of maintaining a good international image as

a nation that upholds religious liberties, it would be incongruous for Plaintiffs to have less leeway

in this religious accommodation than what their counterparts in the Australian Army are permitted.

Furthermore, the presence of this accommodation in the Australian Army, an allied force with

many parallels to the U.S. military, shows that such accommodation is possible without detracting

from the unity of the force.

     Because forcing Plaintiffs to shave, cut their hair, and remove their religious articles against

their religious beliefs is not the least restrictive means of promoting any compelling government

interest, they are likely to succeed on the merits of their RFRA claim.

II. Plaintiffs are likely to succeed on their Free Exercise Clause claims.

     Plaintiffs are also likely to prevail on their Free Exercise claims. Government action that

burdens religious exercise is subject to strict scrutiny under the Free Exercise Clause if it is “not

neutral or not of general application.” Lukumi, 508 U.S. at 546. “A law also lacks general

applicability if it prohibits religious conduct while permitting secular conduct that undermines the

government’s asserted interests in a similar way.” Fulton, 141 S. Ct. at 1877; see also Tandon v.

Newsom, 141 S. Ct. 1294, 1296 (2021) (per curiam) (actions trigger strict scrutiny “whenever they

treat any comparable secular activity more favorably than religious exercise”). Here, the permitted

deviations from uniformity—including deviations that allow alternate hairstyles, permanent beard

accommodations for medical reasons, and tattoos in all circumstances—pose the exact same risks



22
   See, e.g., Army Dress Manual, The Australian Army, Effective Dec. 20, 2019 at 2-21 through
2-24 (Sections 2.67-2.71).


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to the government’s alleged interests, regardless of the reason for the beard or other deviations.

Thus, these exceptions trigger strict scrutiny. Fulton, 141 S. Ct. at 1877.

   In Lukumi, the Supreme Court unanimously struck down an example of government action as

not neutral or generally applicable. Lukumi involved four municipal ordinances that restricted the

killing of animals. When challenged, the city argued that the ordinances were neutral because they

were written “in secular terms, without referring to religious practices.” Lukumi, 508 U.S. at 534.

The Supreme Court emphasized that when determining whether a law is neutral and generally

applicable, “[f]acial neutrality is not determinative.” Id. The Court explained that because the

ordinances applied to “Santeria adherents but almost no others,” they prohibited Santeria sacrifice

“even when it does not threaten the city’s interest in the public health,” and “selective[ly]”

“impose[d] burdens only on conduct motivated by religious belief,” they were not neutral or

generally applicable. Id. at 536, 538-39, 543.

   Like the City’s treatment of Santeria worship, the Marine Corps’ treatment of Plaintiffs has

not been neutral or generally applicable. As discussed, exceptions to the uniform-appearance

policies (including beard, hairstyle, and tattoo exemptions) are available for nonreligious reasons

such as diversity, recruitment and retention, and medical needs, thus treating “comparable secular

activit[ies] more favorably than religious exercise.” Tandon, 141 S. Ct. at 1296. And the Supreme

Court has made clear that the mere existence of a discretionary exemption process, no matter

“whether any exceptions have been given,” subjects a regime to strict scrutiny. Fulton, 141 S. Ct.

at 1879. This principle applies to the exemption processes the Marine Corps holds out for other

breaches of uniformity, for example, its process to seek exemptions for tattoos that would not be

covered by uniforms or would otherwise violate its policy. Compl. Ex. B at ¶ 4a(2)(h).

   By refusing to grant Plaintiffs an accommodation to practice their faith while granting

accommodations for other reasons, the Marine Corps has impermissibly “impose[d] special

disabilities on the basis of . . . religious status,” Lukumi, 508 U.S. at 533 (quoting Emp. Div. v.

Smith, 494 U.S. 872, 877 (1990)). In light of this disparate treatment, the Marine Corps’ conduct

should be evaluated with strict scrutiny under the Free Exercise Clause as well as under RFRA


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(which already poses strict scrutiny as a default rule). As explained above, the Marine Corps’

regulations, as enforced against Plaintiffs, are not the least restrictive means of upholding a

compelling government interest.

III. Plaintiffs are likely to succeed on their Equal Protection claims.

     Plaintiffs are also likely to succeed on their Equal Protection claims under the Due Process

Clause of the Fifth Amendment. 23 “Strict scrutiny . . . is warranted if the restriction ‘jeopardizes

exercise of a fundamental right or categorizes on the basis of an inherently suspect characteristic.’”

Banner v. United States, 428 F.3d 303, 307 (D.C. Cir. 2005) (quoting Nordlinger v. Hahn, 505

U.S. 1, 10 (1992)); see also City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 440 (1985).

The Marine Corps’ actions here both jeopardize the exercise of a fundamental right—Plaintiffs’

religious exercise—and categorize them on the basis of an inherently suspect characteristic—their

religion, and more specifically, the religious basis of their need for a hair and garb accommodation.

     Engaging in religious expression is the exercise of a fundamental right, both because it is

religious exercise and because it is expression. See, e.g., Johnson v. Robison, 415 U.S. 361, 375

n.14 (1974) (“Unquestionably, the free exercise of religion is a fundamental constitutional right.”);

Niemotko v. Maryland, 340 U.S. 268, 272 (1951) (Equal Protection Clause barred the Government

from suppressing Jehovah’s Witnesses from engaging in religious expression); see also Harbin-

Bey v. Rutter, 420 F.3d 571, 576 (6th Cir. 2005) (both speech and religious freedom are

fundamental rights for Equal Protection purposes); Srail v. Village of Lisle, 588 F.3d 940, 943 (7th

Cir. 2009) (“Fundamental rights include freedom of speech and religion.”). Here, Plaintiffs seek

to exercise both their rights of expression and religious exercise. That is one of the two triggers for

strict scrutiny.

     The other trigger is the application of a suspect classification. The Marine Corps’ singling out

of Plaintiffs to their detriment, due to the religious motivation of their accommodation requests,


23
    The principles of the Equal Protection Clause apply with equal force to the federal government
through the Due Process Clause of the Fifth Amendment. See Bolling v. Sharpe, 347 U.S. 497
(1954).


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also categorizes them on the basis of an inherently suspect class—religion. Discrimination on the

basis of religious adherence “not only lacks a rational connection with any permissible legislative

purpose, but is also inherently suspect. Such invidious discrimination violates the equal protection

of the laws guaranteed by the Due Process Clause.” King’s Garden, Inc. v. FCC, 498 F.2d 51, 57

(D.C. Cir. 1974) (citing Bolling, 347 U.S. 497); see also United States v. Batchelder, 442 U.S. 114,

125 n.9 (1979) (“The Equal Protection Clause prohibits selective enforcement ‘based on an

unjustifiable standard such as race, religion, or other arbitrary classification’”).

   Here, as explained above, the Marine Corps has discriminated on the basis of Plaintiffs’

religion by refusing to extend to them the same kinds of exemptions from the grooming

requirements that it extends to other Marines—a decision that reflects at least a “value judgment”

that Plaintiffs’ “religious motivations” are not as worth accommodating. Cf. Fraternal Ord. of

Police, 170 F.3d at 366. For Aekash in particular, the extensive delay he has experienced and the

inaccurate characterization of his religious beliefs as a “conscientious objector” contrast sharply

with the treatment of his colleagues of other faiths or no faiths at all, who have long since begun

their careers as Marines. For the reasons discussed in Sections I.C and I.D above, the Marine Corps

cannot defend its regulations under strict scrutiny. Plaintiffs are likely to succeed on their claims.

IV. The remaining factors each weigh in favor of granting preliminary injunctive relief.

   “In First Amendment cases, the likelihood of success ‘will often be the determinative factor’”

since preventing constitutional injuries tends to satisfy the other factors. Pursuing Am.’s Greatness

v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016); see also Liberty Coins, LLC v. Goodman, 748 F.3d

682, 691 (6th Cir. 2014) (“When a party seeks a preliminary injunction on the basis of the potential

violation of the First Amendment, the likelihood of success on the merits often will be the

determinative factor.”); Roman Catholic Archbishop of Wash., 531 F. Supp. 3d at 46 (RFRA

protects First Amendment interests, such that showing likelihood of success on the merits of RFRA

claim means the plaintiff “has shown that [he] will be irreparably injured absent injunctive relief”).




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   A. Plaintiffs will suffer irreparable harm absent injunctive relief.

   Where, as here, a plaintiff faces unlawful coercion to abandon his religious beliefs or

experiences discrimination based on those beliefs, this Circuit and Court have consistently

recognized irreparable harm. This tracks the Supreme Court’s rule that restrictions on religious

exercise “cause irreparable harm” and that “‘the loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.’” Diocese of Brooklyn, 141

S. Ct. at 67 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976); accord Rigdon, 962 F. Supp. at

165 (holding that the violation of First Amendment religious expression rights constituted

irreparable injury); see also Simms v. District of Columbia., 872 F. Supp. 2d 90, 104 (D.D.C. 2012)

(violation of Fifth Amendment rights constitutes irreparable harm); cf. Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 303 (D.C. Cir. 2006) (“[W]here a movant alleges a violation

of the Establishment Clause, this is sufficient, without more, to satisfy the irreparable harm prong

for purposes of the preliminary injunction determination.”). The same is true for loss of RFRA

protections. Roman Catholic Archbishop of Wash., 531 F. Supp. 3d at 45 (finding “the same is true

of rights afforded under the RFRA”); Capitol Hill Baptist Church, 496 F. Supp. 3d at 301 (“When

plaintiffs establish a strong likelihood of success on the merits of their RFRA claim, they have also

adequately demonstrated that they will suffer irreparable harm absent the issuance of a preliminary

injunction.” (cleaned up)).

   Because Plaintiffs have demonstrated that their constitutional and civil rights are being

violated, they have automatically established irreparable harm. See Mills v. District of Columbia,

571 F.3d 1304, 1312 (D.C. Cir. 2009) (“It has long been established that the loss of constitutional

freedoms, ‘for even minimal periods of time, unquestionably constitutes irreparable injury.’”)

(quoting Elrod, 571 F.3d at 373). Facing a government directive to violate a teaching of one’s faith

is “a harm for which there can be no do over and no redress.” Roman Catholic Archbishop of

Wash., 531 F. Supp. 3d at 46 (quoting Capitol Hill Baptist Church, 496 F. Supp. 3d at 302)).

   The Marine Corps’ undue delay and failure to accommodate Plaintiffs has harmed their lives

and careers in a practical sense as well. All three Plaintiffs have put their lives and careers on hold,


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and two have already waited over a year for the Marine Corps to process their requests, only to

receive denials. On April 30, 2022, Jaskirat’s Delayed Entry Program contract will expire, and

without an accommodation, he will be administratively discharged and will have to start the

enlistment process over again, absent relief from this Court. Compl. ¶¶ 63, 169. And unless this

Court intervenes, in September 2022 and June 2023, Aekash and Chahal will both have to retake

their entrance tests, which they already passed. Compl. ¶¶ 149, 205.

   In addition, being subjected to blatantly discriminatory conditions constitutes irreparable harm.

This Court faced a similar situation in Bonnette v. D.C. Court of Appeals, 796 F. Supp. 2d 164

(D.D.C. 2011). In that case, the disabled plaintiff sought an accommodation in taking the

Multistate Bar Examination. Defendants “argue[d] that [the blind plaintiff] cannot show that she

is likely to suffer irreparable harm because it is possible that she will pass the D.C. Bar Exam using

either a human reader or an audio CD.” Id. at 187. This Court rejected that argument, holding that

“forcing Plaintiff to take the MBE under discriminatory conditions is itself a form of irreparable

injury.” Id.; accord Singh, 168 F. Supp. 3d at 233 (“[B]eing subjected to discrimination is by itself

an irreparable harm.”).

   Under the governing regulations, Plaintiffs are fully entitled to religious accommodations and

to receive one of the myriad individualized grooming exemptions that the Marine Corps provides

to others. It is irreparable harm to force them to continue choosing between abandoning their

religious beliefs and serving their country.

   B. The balance of harms and public interest weigh in Plaintiffs’ favor.

   Plaintiffs likewise meet the combined balance-of-harms and public-interest factors. See Karem

v. Trump, 960 F.3d 656, 668 (D.C. Cir. 2020) (explaining that these remaining factors “‘merge

when,’ as here, ‘the Government is the opposing party’” (quoting Nken v. Holder, 556 U.S. 418,

435 (2009)). Defendants will suffer no injury from a preliminary injunction allowing Plaintiffs to

keep their requested beards and religious articles pending a final merits decision from this Court.

As explained above, other branches of the military have allowed Sikh servicemembers to maintain

their beards, unshorn hair, and religious articles without incident. And even if Defendants’ abstract,


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general interest in uniform appearances could be considered impaired by dress that is plainly

religious in nature—a doubtful proposition—that interest has already given way where other forms

of diverse expression or soldier-specific needs are at issue. Thus, the Marine Corps can

demonstrate no harm to its interests stemming from accommodating Plaintiffs. In contrast,

Plaintiffs have demonstrated that they will suffer irreparable and severe injury if made to choose

between violating their faith and being denied military roles for which they have already proven

themselves qualified.

     As to public interest, enforcing an unconstitutional provision “is always contrary to the public

interest.” Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013). That is doubly so where unlawful

religious discrimination is at issue. The Marine Corps’ own regulations emphasize that “Service

members have a right to observe the tenets of their religion.” Compl. Ex. L; see also Compl. Ex.

Y at ¶ 1.2(b) (“A Service member’s expression of such [religious] beliefs may not, in so far as

practicable, be used as the basis of any adverse personnel action, discrimination, or denial of

promotion, schooling, training, or assignment.”). As previously explained, there is a “vital public

interest in safeguarding religious freedoms protected by the Constitution and by statutes enacted

by Congress.” Roman Catholic Archbishop of Wash., 531 F. Supp. 3d at 47; see also O Centro v.

Ashcroft, 389 F.3d 973, 1010 (10th Cir. 2004) (en banc), aff’d, 546 U.S. 418 (2006) (“[T]here is a

strong public interest in the free exercise of religion.”); Tyndale House Publishers v. Sebelius, 904

F. Supp. 2d 106, 130 (D.D.C. 2012) (“[T]here is undoubtedly also a public interest in ensuring that

the rights secured under . . . RFRA, are protected.”).

     Outside this Court, the Marine Corps has made clear that servicemembers’ diverse

backgrounds and the expression of their identities is a help rather than a hindrance to good military

order, even releasing a strategic plan for diversity, equity, and inclusion in July 2021. 24 As

Defendant LtGen Ottignon recently explained, “[w]ithout having individuals with different


24
    LtGen David Ottignon & BGen Jason Woodworth, Diversity, Equity & Inclusion: Why This is
Important to the Corps as a Warfighting Organization, Marine Corps Gazette (July 2021),
https://perma.cc/9S26-ZQDL.


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backgrounds, we have the tendency to engage in ‘group think.’” 25 He added that “the statistics

demonstrate the needle is moving, but admittedly not quickly enough to meet the strategic

objective of building a diverse force to meet a peer threat.” 26 To seek out racial and ethnic diversity

yet exclude religious diversity, particularly when Sikh servicemembers also identify as ethnically

diverse, undercuts these asserted goals. See also National Defense Authorization Act for Fiscal

Year 2020, H.R. 2500, 116th Cong. § 530B (2019) (“Any personnel policy developed or

implemented by the Department of Defense with respect to members of the armed forces shall

ensure equality of treatment and opportunity for all persons in the armed forces, without regard

to . . . religion.”). Accommodating Plaintiffs advances religious diversity and removes a

significant barrier to entry for them and similarly situated Sikh Americans who aspire to serve

their country as Marines without compromising their core religious beliefs. Accommodating

Plaintiffs will also increase retention for them and other Sikh Americans in the military, because

servicemembers who can practice their faith and freely express their religious identity are less

likely to struggle with mental health issues and more likely to remain in the military. 27
V. The Court should not require security.

     Plaintiffs request that the Court require no security. There is no prospect that Defendants would

suffer damages even if it were later determined that they were wrongfully enjoined or restrained.

Fed. R. Civ. P. 65(c). Thus, the relevant “sum” required to preserve Defendants’ interests is zero.

Id. In addition, “only a party seeking to change (not maintain) the status quo needs to post a bond.”

Laster v. District of Columbia, 439 F. Supp. 2d 93, 99 n.7 (D.D.C. 2006). Plaintiffs are not seeking

to “command the government to act,” but rather “to enjoin the [Marine Corps] from enforcing its

restrictions”—i.e., to allow them to wear their religious articles as they would absent government


25
   LtGen David Ottignon & BGen Jason Woodworth, Diversity, Equity & Inclusion: Why This is
Important to the Corps as a Warfighting Organization, https://perma.cc/9S26-ZQDL.
26
     Id.
27
   Shareda Hosein, Muslims in the U.S. Military: Moral Injury and Eroding Rights, Pastoral
Psychology, 68: 77-92 at 86, 89 (Nov. 12, 2018), https://perma.cc/LC9H-SFZP.


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interference. Capitol Hill Baptist Church, 496 F. Supp. 3d at 292 (emphasis added). Their request,

therefore, does not necessitate bond.

                                        CONCLUSION

   For all the foregoing reasons, Plaintiffs respectfully urge the Court to grant their application

for a preliminary injunction directing the Marine Corps to grant them a full religious

accommodation for the pendency of this lawsuit.

   Plaintiffs also requests that the Court waive the posting of a bond.


   Respectfully submitted this 13th day of April, 2022.

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                                CERTIFICATE OF SERVICE

   The undersigned hereby certifies that on April 13, 2022, a true and correct copy of the

foregoing was electronically filed using the CM/ECF system, which will send notification of such

filing to all counsel of record. A copy of the foregoing was also served on counsel for Defendants

by email.

                                             /s/ Eric S. Baxter
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